Case 2:22-cv-04355-JFW-JEM Document 98-7 Filed 02/14/23 Page 1 of 4 Page ID #:3618



     1 ERIC BALL (CSB No. 241327)
       eball@fenwick.com
     2 KIMBERLY CULP (CSB No. 238839)
       kculp@fenwick.com
     3 FENWICK & WEST LLP
       801 California Street
     4 Mountain View, CA 94041
       Telephone: 650.988.8500
     5 Facsimile: 650.938.5200
    6 ANTHONY M. FARES (CSB No. 318065)
      afares@fenwick.com
    7 ETHAN M. THOMAS (CSB No. 338062)
      ethomas@fenwick.com
    8 FENWICK & WEST LLP
      555 California Street, 12th Floor
    9 San Francisco, CA 94104
      Telephone: 415.875.2300
   10
      Additional Counsel listed on next page
   11
      Attorneys for Plaintiff and
   12 Counterclaim Defendant
      YUGA LABS, INC.
   13
   14                            UNITED STATES DISTRICT COURT
   15                           CENTRAL DISTRICT OF CALIFORNIA
   16                           WESTERN DIVISION – LOS ANGELES
   17 YUGA LABS, INC.,                              Case No.: 2:22-cv-04355-JFW-JEM
   18                    Plaintiff and              DISCOVERY MATTER
                         Counterclaim Defendant,
   19                                               DECLARATION OF ANTHONY M.
               v.                                   FARES RE DEFENDANTS RYDER
   20                                               RIPPS AND JEREMY CAHEN’S
        RYDER RIPPS, JEREMY CAHEN,                  MOTION TO DE-DESIGNATE THE
   21                                               DEPOSITION OF RYAN HICKMAN
                         Defendants and
   22                    Counterclaim Plaintiffs.   Magistrate Judge: Hon. John E. McDermott
                                                    Motion Hearing Date: March 21, 2023
   23                                               Motion Hearing Time: 10:00 AM
                                                    Discovery Cutoff Date: April 3, 2023
   24                                               Pre-Trial Conference Date: June 9, 2023
                                                    Trial Date: June 27, 2023
   25
   26
   27
   28

        DECLARATION OF ANTHONY M. FARES RE MOTION
        TO DE-DESIGNATE                                               Case No. 2:22-cv-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-7 Filed 02/14/23 Page 2 of 4 Page ID #:3619



     1 MELISSA L. LAWTON (CSB No. 225452)
       mlawton@fenwick.com
     2 FENWICK & WEST LLP
       228 Santa Monica Boulevard
     3 Santa Monica, CA 90401
       Telephone: 310.434.4300
     4
       DAVID Y. SILLERS (admitted pro hac vice)
     5 david@clarelocke.com
       KATHRYN HUMPHREY (admitted pro hac vice)
     6 kathryn@clarelocke.com
       MEGAN L. MEIER (admitted pro hac vice)
     7 megan@clarelocke.com
       CLARE LOCKE LLP
     8 10 Prince Street
       Alexandria, VA 22314
     9 Telephone: 202.628.7400
   10 Attorneys for Plaintiff and
      Counterclaim Defendant
   11 YUGA LABS, INC.
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

        DECLARATION OF ANTHONY M. FARES RE MOTION
        TO DE-DESIGNATE                             2        CASE NO. 2:22-CV-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-7 Filed 02/14/23 Page 3 of 4 Page ID #:3620



     1          I, Anthony M. Fares, declare as follows:
     2          1.      I am an attorney admitted to practice in California and an associate at
     3 the law firm of Fenwick & West LLP, counsel for Plaintiff Yuga Labs, Inc. (“Yuga
     4 Labs”) in the above-captioned matter. I make this declaration based on my own
     5 personal knowledge. If called as a witness, I could testify competently to the facts
     6 set forth here.
     7          2.      I make this declaration pursuant to Local Rule 37-2.1.
     8          3.      On February 6, 2023, counsel for Yuga Labs and counsel for Defendants
     9 met and conferred about the confidentiality of Mr. Hickman’s deposition.
   10 Defendants argued that the Hickman deposition should have no confidentiality
   11 designation because Defendants, Mr. Hickman, and Mr. Lehman stated their
   12 understanding that it is not confidential. Yuga Labs explained that this position was
   13 inconsistent with Defendants’ designation of materials used and quoted in Mr.
   14 Hickman’s deposition as “Highly Confidential – Attorneys’ Eyes Only” (“HC-
   15 AEO”) and Mr. Lehman’s designation of material used and quoted in Mr. Hickman’s
   16 deposition as “Confidential.” To resolve this inconsistency, Yuga Labs proposed that
   17 Defendants re-produce these HC-AEO documents with specific designations as
   18 required by section 6.3 of the Protective Order. Defendants initially agreed on the
   19 condition that Yuga Labs also re-produce a vague set of documents that they claimed
   20 were not entirely confidential. Yuga Labs responded that there was no need to do so,
   21 given that it had not taken an inconsistent position like Defendants had. Defendants
   22 withdrew their offer to re-designate documents and affirmed their intent to file a
   23 motion. Approximately five hours after the conclusion of the meet and confer
   24 conference, Defendants served Yuga Labs with their portion of a joint statement
   25 regarding their motion to de-designate the deposition of Ryan Hickman.
   26            4.     On information and belief, Yuga Labs has not received a letter, in the
   27 form contemplated in L.R. 37-1, from Defendants related to their motion to de-
   28 designate the deposition of Ryan Hickman.

         DECLARATION OF ANTHONY M. FARES RE MOTION
         TO DE-DESIGNATE                              3              CASE NO. 2:22-CV-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-7 Filed 02/14/23 Page 4 of 4 Page ID #:3621



     1          5.      On information and belief, the majority of Defendants’ discovery
     2 production is marked “Highly Confidential – Attorneys’ Eyes Only.” Among the 73
     3 exhibits used in Mr. Hickman’s deposition, approximately 45 exhibits contain
     4 material produced by Defendants as “Highly Confidential – Attorneys’ Eyes Only,”
     5 and at least five exhibits contain material produced by Mr. Lehman as “Confidential.”
     6          6.      Email correspondence from December 21, 2022 through December 27,
     7 2022 between counsel for Yuga Labs and counsel for Defendants, with highlights, is
     8 attached as Exhibit 1.
     9          7.      Exhibit 53 from Mr. Hickman’s deposition, with highlights, is attached
   10 as Exhibit 2.
   11           8.      The Parties’ December 28, 2022 Local Rule 37 Joint Stipulation Re
   12 Ryder Ripps and Jeremy Cahen’s Motion to Compel, with highlights, is attached as
   13 Exhibit 3.
   14           9.      Excerpts of Mr. Hickman’s deposition transcript, with highlights, is
   15 attached as Exhibit 4.
   16           10.     A document produced by Defendants as RIPPSCAHEN00013378 and
   17 designated “Highly Confidential – Attorneys’ Eyes Only” is attached as Exhibit 5.
   18 This document was produced by Defendants on December 27, 2022, as an
   19 “Embedded Document[].” On information and belief, it was referenced in their initial
   20 production of the Team Ape Market Discord chat (RIPPSCAHEN00000301), which
   21 was also designated “Highly Confidential – Attorneys’ Eyes Only.”
   22           I declare under penalty of perjury under the laws of California and the United
   23 States that, to the best of my knowledge, the foregoing is true and correct.
   24           Executed in California on February 13, 2023.
   25
                                                     /s/ Anthony M. Fares
   26                                                Anthony M. Fares
   27
   28

         DECLARATION OF ANTHONY M. FARES RE MOTION
         TO DE-DESIGNATE                             4              CASE NO. 2:22-CV-04355-JFW-JEM
